     Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 1 of 16 PageID #:3066



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

U.S. EQUAL EMPLOYMENT                               )   Case No. 17-cv-6753
OPPORTUNITY COMMISSION, Plaintiff,                  )
and ESTATE OF RICHARD RASCHER,                      )   Judge Franklin U. Valderrama
Plaintiff-Intervenor,                               )
                                                    )
v.                                                  )
                                                    )
S&C ELECTRIC COMPANY,                               )
                                                    )
                        Defendant.                  )


                 DEFENDANT’S MOTION TO ENFORCE SETTLEMENT
                   AGREEMENT AND ENTER CONSENT DECREE

          Defendant S&C Electric Company (“Defendant”), by and through its attorneys, hereby

submits this motion to enforce the global settlement agreement (“Settlement”) reached by, between,

and among Plaintiff-Intervenor Estate of Richard Rascher (the “Estate”), Plaintiff Equal

Employment Opportunity Commission (“EEOC”) (collectively, “Plaintiffs”), and Defendant

(collectively, the “Parties”) on August 9, 2021 and to enter the attached consent decree (“Consent

Decree”) which is consistent with, and incorporates the terms of, the Parties’ Settlement. (The

Consent Decree is attached hereto as Exhibit A.) In support of this motion, Defendant states as

follows:

I.        BACKGROUND

     1. On July 14, 2021, this case was set for trial. Dkt. 156.

     2. On August 9, 2021 at 11:30 a.m., the Parties appeared before the Court for a status hearing

to address certain pre-trial matters (“Status Hearing”). Dkt. 182. At this Status Hearing, the Court

inquired as to the Parties’ settlement positions. Upon the Parties’ agreement that further settlement

discussions would be productive and might obviate the need for trial, the Court held an




4217665 v1 -
    Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 2 of 16 PageID #:3067



approximately five and one-half hour settlement conference (“Settlement Conference”) as part of

the Status Hearing. See id.

     3. The Settlement Conference resulted in the Parties, with the Court’s assistance, reaching a

global agreement on all but one of the material settlement terms.        Specifically, there remained

disagreement as to the language of Paragraph 5 of the EEOC’s most recent proposed consent

decree provided on September 24, 2020 in connection with the settlement conference held by

Magistrate Judge Valdez (“Proposed Consent Decree”). (A true and accurate copy of the Proposed

Consent Decree is attached hereto as Exhibit B.1) Paragraph 5 sets forth the scope of the injunction

vis-à-vis retaliation.

     4. Shortly after the Settlement Conference concluded, Defendant proposed a revised version of

Paragraph 5 of the EEOC’s most recent Proposed Consent Decree. After minor modifications

were exchanged by the Parties, the Settlement Agreement was reached.

     5. Thereafter, all Parties confirmed agreement to the global Settlement. Upon this agreement,

the Parties further agreed to inform the Court via email that the case had been resolved in principle.

     6. As set forth more fully below, the Court should enforce the Settlement and enter the

Consent Decree.




1In addition, a true and accurate copy of the EEOC’s September 24, 2020 email transmitting the Proposed
Consent Decree to Magistrate Judge Valdez is attached hereto as Exhibit C.

                                                  2
4217665 v1 -
    Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 3 of 16 PageID #:3068



II.       LEGAL STANDARD2

      7. “A settlement agreement is a contract that is enforceable under ordinary state-law3 contract

principles.” Ortiz-Quinones v. Cook Cty., Illinois, 744 F. App’x 962, 964 (7th Cir. 2018) (enforcing

settlement agreement) (citing Lynch, Inc. v. SamataMason Inc., 279 F.3d 487, 490 (7th Cir. 2002)

(affirming finding that parties reached oral settlement); Holmes v. Godinez, 991 F.3d 775, 784 (7th Cir.

2021) (enforcing settlement and holding on motion to enforce that parties’ agreement, not ADA, is

source of court’s authority).4

      8. Oral settlement agreements are enforceable where there exists “an offer and acceptance of

the compromise and a meeting of the minds as to the terms of the agreement.” Dillard v. Starcon Int’l,

Inc., 483 F.3d 502, 507 (7th Cir. 2007) (affirming enforcement of oral settlement); Lynch, 279 F.3d at

490 (collecting cases).

          9.     Oral settlements arrived at through discussions in a settlement conference are valid.

Lynch, 279 F.3d at 490. In addition, a judge’s recollection of the events that take place in a

settlement conference is binding.         See id. (“if the [] judge’s recollection of the November 23

settlement conference is correct, the case has indeed been settled”). Moreover, oral settlement

2 As set forth below, the motion should be analyzed under contract principles. While the case involves a
consent decree, the Consent Decree has not yet been entered, and none of the Parties is seeking to enforce a
provision of same. See, e.g., E.E.O.C. v. Regal-Beloit Corp., No. 06-C-568-S, 2007 WL 5614093, at *2 (W.D.
Wis. May 1, 2007) (granting EEOC’s motion to enforce settlement and enter consent decree); see also Frew ex
rel. Frew v. Hawkins, 540 U.S. 431, 437 (2004) (consent decrees are enforceable as “a judicial decree that is
subject to the rules generally applicable to other judgments and decrees”). In any case, the result would be
the same even if the Court treated the Settlement as a consent decree. See Frew, 540 U.S. at 437 (“Consent
decrees have elements of [] contracts…and “embod[y] an agreement of the parties”).
3 If the Court analyzes this motion under federal law, the result would be the same. See, e.g., Dillard v. Starcon
Int’l, Inc., 483 F.3d 502, 506 (7th Cir. 2007) (on employer’s motion to enforce oral settlement agreement, the
“judge did not make a choice, noting that Illinois and federal law do not differ significantly with regard to the
formulation and enforcement of oral settlement agreements. This observation is correct as far as it goes.”)
(quotations omitted).
4 In employment discrimination cases, the Seventh Circuit requires “that an employee’s settlement be
‘knowing and voluntary’ as a matter of federal law.” Ortiz-Quinones, 744 F. App’x at 964 (Title VII). In this
case, the employee is deceased, and the Estate is represented by counsel. Thus, the “knowing and voluntary”
requirement is met. Id. (“If an employee who is represented by counsel of her choice settles a lawsuit, then
the settlement agreement is presumed to be knowing and voluntary.”).

                                                        3
4217665 v1 -
   Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 4 of 16 PageID #:3069



agreements that take place off the record are valid. Id. at 491 (disputes may be solved in settlement

conferences off the record); see also 28 U.S.C. § 753(b) (Court Report’s Act, which specifies what

proceedings must be on the record, does not require that settlement conferences be conducted on

the record).

III.      ARGUMENT

          A.      The Parties Agreed to the Court Holding a Settlement Conference

       10. At the opening of the Status Hearing, the Court asked the Parties to provide their respective

settlement positions, which the Parties summarized.

       11. Thereafter, counsel for the EEOC, Mr. Cohen, stated that the EEOC remained interested in

settlement and had some flexibility to further negotiate the terms of the Proposed Consent Decree.

Upon learning the EEOC’s position, Defendant agreed to discuss settlement. The Estate also stated

its agreement to engage in settlement negotiations.

       12. With the Parties’ consent, the Court proceeded to hold the Settlement Conference.

       13. To be fully prepared to meaningfully engage in the Settlement Conference, Mr. Cohen

requested a brief recess to collect the EEOC’s notes and documents related to the Parties’ prior

settlement efforts. The Court agreed and went into a brief recess.

          B.      Defendant’s Position

       14. Defendant sought concessions regarding the following material terms that were preventing

settlement:

               a. Narrowing the scope of the injunction such that it was tailored to the facts and

                  allegations applicable to this case.         See Frew, 540 U.S. 431, 437 (“a

                  federal consent decree… must come within the general scope of the case made by

                  the pleadings; and must further the objectives of the law upon which the complaint




                                                    4
4217665 v1 -
   Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 5 of 16 PageID #:3070



                  was based.”). Specifically, Defendant sought the following concessions to settle the

                  case:

                     i.      Scope of proposed injunction narrowed to enjoin Defendant from

                             discriminating on the basis of disability under the ADA by terminating from

                             employment a qualified individual with a disability rather than agreeing to

                             said individual’s request to return after the expiration of the maximum

                             medical leave of absence. See Ex. B, ¶ 4 (containing relevant language to be

                             revised).

                          ii. Scope of proposed injunction narrowed to enjoin retaliation exclusively as it

                             relates to compliance with the consent decree (i.e., because Plaintiffs do not

                             allege retaliation in this case). See id., ¶ 5 (containing language to be revised).

               b. Reduce the monetary amount to be paid to the Estate. See, id., ¶ 6 (monetary

                  provision).

               c. Notice of the consent decree (“Notice”) to be posted exclusively in Defendant’s

                  Human Resources office at its Chicago location (i.e., the geographic locus of the

                  allegations in this case and the primary physical location at which decisions regarding

                  returning employees to work are made by Defendant and conveyed to employees).

                  See id., ¶ 7.

               d. Scope of the proposed recordkeeping and reporting requirements narrowed

                  exclusively to instances in which an employee (i) seeks to return to work from leave

                  of absence; (ii) Defendant declines to accept said employee’s request to return to

                  work and instead separates the employee because the maximum leave of absence

                  under Defendant’s policy is exhausted; and (iii) said employee registers a




                                                         5
4217665 v1 -
    Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 6 of 16 PageID #:3071



                  disagreement with Defendant’s decision (i.e., the discrimination alleged in this case).

                  See Ex. B, ¶ 9 (containing relevant language to be revised).

               e. EEOC involvement in Defendant’s ADA training to be limited exclusively to

                  approval of the identity of the outside/independent trainer(s) selected by Defendant.

                  See Ex. B, ¶ 13.

               f. Term of the consent decree to be reduced. See Ex. B, ¶ 17.

          C.      The Settlement Conference Negotiations

     15. At approximately 12:30 p.m., the Court held a private caucus with Plaintiffs to discuss their

positions.

     16. At approximately 1:20 p.m., the Court held a private caucus with Defendant and explained

the following:

               a. The EEOC was willing to agree to Defendant’s position regarding the posting of

                  Notice exclusively in Defendant’s Human Resources office at its Chicago location

                  provided this was the location at which decisions regarding returning employees to

                  work are made by Defendant and conveyed to employees. Defendant confirmed to

                  the Court that this was the location where such decisions are made and conveyed.5

               b. The EEOC was willing to agree to Defendant’s position regarding the training

                  requirement of the consent decree as stated supra at ¶ 14(e).

               c. The EEOC was willing to agree to an 18-month consent decree (with reporting to

                  take place via Excel spreadsheet or letter at six (6) months and fifteen (15) months).




5 For full context, Defendant explained that Defendant also provides notice to employees electronically
through its intranet.

                                                     6
4217665 v1 -
    Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 7 of 16 PageID #:3072



               d. The EEOC sought to have the injunction, including recordkeeping requirements,

                  include within its scope all instances in which an employee seeks to return to work

                  and Defendant denies said employee’s request.

     17. Defendant informed the Court of its agreement to ¶ 16(a), (b), and (c) above, but that it

would not agree to any injunctive relief except as described in Paragraph 14(a) above.

     18. At approximately 1:42 p.m., the Court returned to confer independently with Plaintiffs.

     19. At approximately 2:12 p.m., the Court returned to confer independently with Defendant.

The Court stated its belief that agreement to the non-monetary terms of a consent decree was

essentially in place, and based upon this progress, began to focus the Settlement Conference on the

monetary settlement amount.

     20. By approximately 3:25 p.m., after exchanging offers and obtaining client consent, a monetary

amount, to be paid to the Estate, was agreed to as part of a potential consent decree, provided that

the other consent decree terms were finally agreed upon. Defendant also agreed that the private

release agreement between Defendant and the Estate would be modified as necessary to exclude

terms that have become moot as a result of Mr. Rascher’s passing.

     21. Thereafter, the Court brought all Parties back into a conference to confirm the material

terms agreed upon by all Parties. In summary, the agreed upon material terms were as follows6:

               a. The scope of the injunction to be set forth in a consent decree, including

                  recordkeeping and reporting obligations therein, was to be tailored to address

                  scenarios in which (i) an employee requests to return to work from a medical leave of

                  absence; (ii) such request is denied by Defendant; and (iii) instead of being returned




6The terms which were not, and have not been, in dispute since the settlement conferences before the
magistrate court would remain materially same.

                                                    7
4217665 v1 -
   Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 8 of 16 PageID #:3073



                  to work, the employee is terminated; and (iv) such employee registers a disagreement

                  with Defendant’s decision.

               b. The length of the consent decree was to be eighteen (18) months (with reporting to

                  take place via Excel spreadsheet or letter at six (6) months and fifteen (15) months)

               c. As to ADA training requirements, Defendant would be required to provide the

                  EEOC the name of its selected outside/independent trainer(s), after which the

                  EEOC would have the right to reject Defendant’s selection. In the event the EEOC

                  were to reject Defendant’s selection, Defendant would then propose another

                  outside/independent trainer(s) (with the EEOC again having the right to reject

                  Defendant’s proposed outside/independent trainer(s)).

               d. The Notice was to be posted in the Human Resources office of Defendant’s Chicago

                  location.

               e. The consent decree was to provide for a monetary settlement in the amount of

                  $315,000 which was to be paid to the Estate.

               f. The private release agreement between Defendant and the Estate was to be modified

                  to exclude any portions rendered moot by Mr. Rascher’s passing.

     22. The Parties agreed to all material terms set forth in Paragraph 21 above.

     23. However, Defendant requested confirmation from the EEOC that the retaliation injunction

language in Paragraph 5 of the Proposed Consent Decree would be narrowed. Defendant restated

its long-held position that any broader injunction against retaliation under the ADA would be

inappropriate because Plaintiffs have never alleged retaliation in this case. See Frew, 540 U.S. 431,

437 (consent decree is dictated by scope of pleadings and must further objectives of law upon which

the complaint was based).




                                                     8
4217665 v1 -
   Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 9 of 16 PageID #:3074



     24. Although the EEOC agreed with all terms recited by the Court in Paragraph 21 above, it

took issue with Defendant’s requested modification to the retaliation language of Paragraph 5 of the

Proposed Consent Decree. Despite the Court’s finding that the scope of the injunction requested

by Defendant “aligns with this case perfectly” – and in contravention of the Supreme Court’s

mandate in Frew – Mr. Cohen asserted that the language in Paragraph 5 of the Proposed Consent

Decree was the language the EEOC typically uses, and therefore the EEOC would refuse to deviate

regardless of the facts of this case.

     25. With it having been established on numerous occasions that the only remaining material

term to be agreed upon was Defendant’s requested revision of the retaliation language in Paragraph

5 of the Proposed Consent Decree – and the Court having deemed Defendant’s proposal reasonable

and fair – Mr. Cohen indicated he would need to contact the EEOC Regional Attorney for approval

to modify this language.

     26. The Court encouraged Mr. Cohen to contact the EEOC Regional Attorney and inquired as

to whether counsel would recommend modifying Paragraph 5 of the Proposed Consent Decree to

comport with Defendant’s request. Mr. Cohen stated he would contact the EEOC Regional

Attorney but could not commit to recommending the proposed modification.

     27. After the Parties took a break to enable Mr. Cohen to confer with the EEOC Regional

Attorney, Mr. Cohen informed the Court and the other parties that the EEOC would not agree to

Defendant’s position regarding Paragraph 5’s retaliation language.

     28. The Court informed the Parties that it had exhausted settlement efforts, and that it would set

the case over for status on the following day for pre-trial rulings. The Court further stated that the

deadline to inform potential jurors of settlement had passed, and thus costs could be assessed

against the Parties at the Court’s discretion should settlement be reached and the jury venire brought

in unnecessarily.


                                                   9
4217665 v1 -
  Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 10 of 16 PageID #:3075



          D.    The Parties Settle the Case

     29. At approximately 6:03 p.m., counsel for Defendant, Mr. Brenneman, emailed to counsel for

all Parties a revised Paragraph 5 of the Proposed Consent Decree seeking to address the EEOC’s

stated concerns. (A true and accurate copy of Mr. Brenneman’s 6:03 p.m. email is attached hereto as

Exhibit D.) Defendant requested a prompt response in light of the impending trial and in hopes of

enabling the Court to inform jurors that they need not appear for COVID-19 testing should the

Parties reach settlement.

     30. At approximately 6:40 p.m., counsel for Defendant, Mr. Liss, spoke via telephone to counsel

for EEOC, Mr. Shultz. Mr. Shultz informed Mr. Liss that Mr. Cohen and additional EEOC

attorneys were reviewing Defendant’s proposal.

     31. At 6:48 p.m., Mr. Cohen, on behalf of the EEOC, sent an email to counsel for all Parties

containing a redline of Defendant’s proposal for Paragraph 5, to which EEOC stated it would agree.

EEOC further stated that it would not agree to pay any jury venire costs assessed by the Court. (A

true and accurate copy of Mr. Cohen’s 6:48 p.m. email is attached hereto as Exhibit E.)

     32. At 7:32 p.m., Mr. Brenneman, on behalf of Defendant, emailed all Parties stating that

Defendant agreed to the EEOC’s 6:48 p.m. proposal, provided that the Parties agree to change one

“the” to “this.” (A true and accurate copy of Mr. Brenneman’s 7:32 p.m. email is attached hereto as

Exhibit F.) This email further stated that Defendant did not accept the EEOC’s statement that it

would not pay costs assessed by the Court, as all Parties should be prepared to comply with any

order issued by the Court on that topic. Finally, the email suggested that the Parties promptly

inform the Court’s staff that the Parties had reached an agreement in principle.

     33. At 7:37 p.m., counsel for the Estate, Ms. Doran, emailed counsel for Defendant voicing

agreement that the Parties should inform the Court of the Settlement promptly so as to potentially




                                                 10
4217665 v1 -
  Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 11 of 16 PageID #:3076



avoid the assessment of jury venire costs. (A true and accurate copy of Ms. Doran’s 7:37 p.m. email

is attached hereto as Exhibit G.).

     34. Shortly thereafter, Mr. Brenneman and Mr. Liss, on behalf of Defendant, left a voice

message for Mr. Shultz, on behalf of EEOC, to ensure all Parties were in agreement that the Parties

should immediately notify the Court of the Settlement.

     35. At 7:57 p.m., Mr. Shultz returned Mr. Brenneman and Mr. Liss’ voice message.                   Mr.

Brenneman and Mr. Liss requested confirmation of the following:

               a. The EEOC agreed to the revised retaliation language from Paragraph 5 of the

                  Proposed Consent Decree set forth in Mr. Brenneman’s 7:32 p.m. email (Exhibit F).

               b. Payment of any potential assessment of costs was not a condition of settlement and

                  that all Parties would pay any such costs in accordance with the Court’s direction.

               c. The EEOC agreed that the Parties had reached the Settlement consisting of the

                  material terms agreed upon at the Settlement Conference supplemented by the

                  revised retaliation language in Paragraph 5, and thus would inform the Court

                  immediately of same.

Mr. Shultz confirmed the EEOC’s agreement to each of these points.7 (A true and accurate

photograph of Mr. Brenneman’s telephone call log displaying the 7:57 p.m. call with Mr. Shultz is

attached hereto as Exhibit H.)

     36. At no time during these post-Settlement Conference communications did the EEOC raise

any terms of the Settlement other than the retaliation language of Paragraph 5 of the Proposed

Consent Decree.




7 Mr. Shultz expressly clarified that the EEOC’s communication regarding costs assessed by the Court was

not a condition of settlement, but rather to avoid any ambiguity surrounding whether the EEOC would agree
without court order to pay such costs.

                                                    11
4217665 v1 -
  Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 12 of 16 PageID #:3077



     37. With all Parties’ consent, at 8:14 p.m., Mr. Liss, on behalf of all Parties, informed the Court

that the Settlement had been reached. (A true and accurate copy of Mr. Liss’ email directed to the

Proposed Order Box with a copy to Ms. Charles, Ms. Palmer, and all counsel is attached hereto as

Exhibit I.)

     38. As stated in Mr. Liss’ 8:14 p.m. email (Exhibit I), this matter was fully and finally resolved

pursuant to the Settlement.

     39. Motions to enforce a settlement agreement and simultaneously enter a consent decree are

particularly appropriate in the instant case. E.E.O.C. v. Regal-Beloit Corp., Case No. 06-cv-568-S, 2007

WL 5614093 (W.D. Wis. May 1, 2007) is instructive. In that case, the EEOC and an employer held

a settlement conference, after which the EEOC stated it would accept the defendant’s offer

pursuant to oral discussions – even though additional editing to the written language was required.

Id. at *1. The parties promptly exchanged proposed revisions, with the EEOC ultimately confirming

that the defendant’s proposal “looked fine subject to [certain] nits and nats.” Id. Prior to the

parties’ execution of the final consent decree, however, the court entered summary judgment in

favor of defendant. Id. Thereafter, the EEOC moved to enforce the settlement and enter a consent

decree. Id. The court granted the EEOC’s motion – both enforcing the settlement and entering a

consent decree – on the basis that an oral settlement agreement was formed the instant the EEOC

confirmed its agreement “subject to [certain] nits and nats.” Id.

     40. Notably, in Regal-Beloit, Mr. Cohen filed two affidavits on behalf of the EEOC in support of

enforcement of the oral settlement agreement and entry of the consent decree. Regal-Beloit, Case No.

06-cv-568-S, 2007 WL 5614093 (W.D. Wis. May 1, 2007), ECF Dkt. Nos. 51, 58 (affidavits of Ethan

M.M. Cohen filed in conjunction with EEOC’s motion to enforce settlement and for entry of

consent decree).




                                                   12
4217665 v1 -
  Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 13 of 16 PageID #:3078



     41. In light of the foregoing, the Court should enforce the Settlement pursuant to the terms

agreed upon at the Settlement Conference supplemented by the retaliation language (i.e., Paragraph

5 of the Consent Decree) stated in Mr. Brenneman’s 7:32 p.m. email (Exhibit F).

          E.    The EEOC’s Post-Settlement Attempt to Undo the Settlement

     42. Without further communication among the Parties, at 9:02 p.m., Mr. Cohen emailed the

Parties, with a copy to the Court, attempting to revise the terms of the Settlement. Despite Mr.

Cohen’s knowledge that the Court had already been informed of the Settlement, Mr. Cohen asserted

that the EEOC “assume[d] based on [Defendant’s] recent message to the Court, Defendant is

withdrawing its objection to paragraph 4 of [EEOC’s] decree.” Mr. Cohen’s email also requested

Defendant to write the Court if Mr. Cohen’s understanding was not correct. (A true and accurate

copy of Mr. Cohen’s 9:02 p.m. email is attached hereto as Exhibit J.)

     43. At 9:35 p.m., Mr. Brenneman responded to Mr. Cohen’s email explaining that the Parties

had already consummated the Settlement, that Defendant had conferred with Mr. Cohen’s co-

counsel before informing the Court of the Settlement, and that Mr. Cohen had misstated

Defendant’s position with regard to paragraph 4 of the decree. (A true and accurate copy of Mr.

Brenneman’s email is attached hereto as Exhibit K.)

     44. At 9:39 p.m., Mr. Cohen emailed the Parties restating that the EEOC’s attempt to

renegotiate the already-finalized Settlement. (A true and accurate copy of Mr. Cohen’s 9:39 p.m.

email is attached hereto as Exhibit L.)

     45. At 10:09 p.m., Mr. Brenneman responded to Mr. Cohen reiterating that the Parties had

already reached an agreement in principle and that Mr. Cohen’s position regarding Paragraph 4 was

incorrect. (A true and accurate copy of Mr. Brenneman’s 10:09 p.m. email is attached hereto as

Exhibit M.)




                                                 13
4217665 v1 -
  Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 14 of 16 PageID #:3079



      46. At 10:27 p.m., Mr. Cohen replied, again seeking to renegotiate the already-finalized

Settlement. (A true and accurate copy of Mr. Cohen’s 10:27 p.m. email is attached hereto as Exhibit

N.)

      47. Because each and every one of the communications subsequent to Mr. Liss’ 8:14 p.m. email

informing the Court of the Settlement occurred after the Settlement was reached, they have no

impact on the validity of the Settlement.

          F.     The EEOC Should Pay Attorneys’ Fees and Venire Costs Resulting from Its
                 Bad Faith Efforts to Undo the Settlement

      48. The EEOC’s feigned ignorance of, and disagreement with, the Settlement terms agreed to at

the Settlement Conference – raised hours after the Settlement was consummated – should not be

countenanced.     The EEOC failed to supply any reason for its sudden attempt to undo the

Settlement.

      49. The attorneys’ fees associated with bringing this motion, as well as the jury venire costs

assessed by the Court (Dkt. 186), are a direct result of the EEOC’s baseless conduct. Accordingly,

EEOC should be required to reimburse Defendant for the attorneys’ fees incurred by bringing this

motion and the jury venire costs assessed against Defendant. Rakestraw v. Corp. for Cmty. Hous., 2005

WL 2030868, at *1 (N.D. Ind. Aug. 19, 2005) (granting fees incurred on motion to enforce

settlement and stating “refusal to abide by the terms of a settlement agreement can constitute bad

faith, entitling the wronged party to attorneys’ fees”); see also supra at ¶ 40 (citing Regal-Beloit, Case

No. 06-cv-568-S, 2007 WL 5614093 (W.D. Wis. May 1, 2007), ECF Dkt. Nos. 51, 58 (affidavits of

Ethan M.M. Cohen in support of motion to enforce settlement and enter consent decree in

analogous context).

          WHEREFORE, Defendant respectfully request this Court to (i) enforce the Settlement

agreement by, between, and among the Parties; (ii) enter the Consent Decree; (iii) award Defendant

attorneys’ fees incurred in bringing this motion to be paid by EEOC; (iv) order EEOC to reimburse

                                                   14
4217665 v1 -
  Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 15 of 16 PageID #:3080



Defendant for all jury venire costs assessed against it; and (v) any other relief the Court deems just

and proper.




Dated: August 12, 2021                                Respectfully submitted,

                                                      S&C Electric Company

                                                      By: /s/ Steven L. Brenneman____
                                                       One of its attorneys

Steven L. Brenneman (IL ARDC #6190736)
L. Brandon Liss (IL ARDC #6321013)
Fox Swibel Levin & Carroll LLP
200 West Madison Street, Suite 3000
Chicago, IL 60606
Telephone: (312) 224-1200
sbrenneman@foxswibel.com
bliss@foxswibel.com




                                                 15
4217665 v1 -
  Case: 1:17-cv-06753 Document #: 188 Filed: 08/12/21 Page 16 of 16 PageID #:3081



                                 CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on August 12, 2021 he caused the foregoing
Plaintiff-Intervenor and Defendant’s Joint Motion to Enforce Settlement and Enter Consent
Decree to be electronically filed with the Clerk of the United States District Court for the Northern
District of Illinois, Eastern Division, using the Court’s CM/ECF system, which shall send
notification of such filing to all counsel of record.


                                              /s/ Steven L. Brenneman
                                                Steven L. Brenneman




                                                 16
4217665 v1 -
